         Case 4:18-cr-00115 Document 179 Filed on 11/08/19 in TXSD Page 1 of 1
                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                               UNITED STATES DISTRICT COURT                       November 08, 2019
                                                                                   David J. Bradley, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
vs.                                               §          CRIMINAL ACTION NO. 4:18-CR-115
                                                  §

RODOLFO RUDY DELGADO




       Before the Court are Defendant's Opposed Motion to Extend Report Date to BOP (the "Motion")

(Doc. #175) and Government's Response (Doc. #176). Having reviewed the parties' arguments and

applicable legal authority, the Court hereby DENIES the Motion.

       It is so ORDERED.


              NOV 0 8 2019
       Date
                                                   United States
